902 F.2d 30Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Tyrone SHEPHERD, Defendant-Appellant.
    No. 89-7661.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 13, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CR No. 83-14-R)
      Tyrone Shepherd, appellant pro se.
      N. George Metcalf, Assistant United States Attorney, Richmond, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Tyrone Shepherd appeals from the district court's order denying his self-styled Motion for Disclosure of Evidence by the Government.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Shepherd, Cr. No. 83-14-R (E.D.Va. May 2, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    